          Case 1:21-cv-00014-DCN Document 2 Filed 01/07/21 Page 1 of 2




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       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


SUSAN CHEW, MARIANNE “MUFFY”           )
DAVIS                                  )
                                       )                     CASE NO. 1.21-cv-00014
                  Plaintiffs           )
                                       )                     MOTION FOR TEMPORARY
                                       )                     RESTRAINING ORDER AND
                                       )                     PRELIMINARY INJUNCTION
            v                          )
                                       )
THE LEGISLATURE OF THE STATE OF        )
IDAHO;SCOTT BEDKE in his capacity as  )
ADMINISTRATOR OF THE                   ),
HOUSE OF REPRESENTATIVES,              )
                                       )
                  Defendants           )
______________________________________ )

   COMES NOW the Plaintiffs who pursuant to Rule 65 of the Federal Rules of Civil Procedure

  move for a Temporary Restraining Order because the facts as stated in Complaint and in the

Affidavits on file herein show that the Plaintiffs will sustain irreparable injury and loss since they

will have to appear in areas of the Legislature beginning January 11 where they will be possibly

exposed to the covid-19 virus. If they do acquire the virus they are susceptible to very serious

consequences far in excess of what other people experience because of their disability as

discussed in the filings herein.

  Plaintiffs only ask in this litigation that they be allowed to participate and vote remotely and to

have an office which is self contained so that they are as free from covid-19 exposure as



MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
            Case 1:21-cv-00014-DCN Document 2 Filed 01/07/21 Page 2 of 2




possible. In addition Plaintiff Davis who is a paraplegic asks for these accommodations because

of the turmoil and crowd control difficulties that have characterized public forums, including the

Special Session August 24-26, 2020 and yesterday in Washington DC. She has considerable

difficulty navigating the Capitol as it is and crowd difficulties and the possibility of covid 19

exposure significantly aggravate the problem. They do not ask that other members or the public

act any differently than they are acting now and they do not ask to postpone the session,

(although that would make some sense).

  Plaintiffs counsel hereby certifies that a copy of the Complaint just relating to Sue Chew was

delivered to the Defendant on December 30, 2020 and that the Defendant is aware of this issue.

(See also Affidavit of Davis, Chew, and Rubel)

     It is Plaintiffs intention to promptly serve this final Complaint and other filings today if

possible.

                                                  Dated this 7th day of January, 2021




                                                      By____/s/John Gannon_______________
                                                              JOHN GANNON




MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
